                                                                                           ____ FILED   ___ ENTERED
                             22-640 and 22-641-ADC
            Case 1:22-mj-00641-ADC Document 3 Filed 03/08/22 Page 1 of 19____ LOGGED _____ RECEIVED
                                                                JTM
                                                                         9:24 am, Mar 08 2022
                                                                                 2021R0016
                                                                                           AT BALTIMORE
                                                                                           CLERK, U.S. DISTRICT COURT
                AFFIDAVIT IN SUPPORT OF SEARCH WARRANT                                     DISTRICT OF MARYLAND
                                                                                           BY ______________Deputy

       I, Rachel S. Corn, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

Baltimore Division, Baltimore, Maryland, being duly sworn, depose and state as follows:

       1.       I have been a SA with the FBI since May 2006. Since September 2006, I have

primarily investigated federal violations concerning child pornography and the sexual exploitation

of children. I have gained experience through training in seminars, classes, and daily work related

to conducting these types of investigations. Specifically, I have received FBI Crimes Against

Children training, FBI Innocent Images Online Undercover training, and FBI Peer-to-Peer

Network Online Investigation training. I have participated in the execution of numerous search

warrants, of which the majority have involved child exploitation and/or child pornography

offenses. Many of the child exploitation and/or child pornography search warrants resulted in the

seizure of computers, cell phones, magnetic storage media for computers, other electronic media,

and other items evidencing violations of federal laws, including various sections of Title 18, United

States Code § 2252A involving child exploitation offenses. I have also participated in the

execution of numerous search warrants for online accounts, such as email accounts, online storage

accounts and other online communication accounts related to child exploitation and/or child

pornography. In the course of my employment with the FBI, I have observed and reviewed

numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media

including computer media and within online accounts.

       2.       As a federal agent, I am authorized to investigate violations of laws of the United

States and am a law enforcement officer with the authority to execute warrants issued under the

authority of the United States.




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       3.       This affidavit is made in support of an application for a warrant to search the

following

Attachments A1 and A2, incorporated here by reference):

              a.     The associated files of Cybertipline Report 2194409 that was forwarded to
the National Center for Missing and Exploited Children (NCMEC) by GoDaddy.com/Wild West
Domains; and

               b.    The GoDaddy.com website http://avza.berydoq.com to include the Sub-
Domain Names set up on berydoq.com: avza.berydoq.com, blzy.berydoq.com,
cuyo.berydoq.com, dalj.berydoq.com, and associated with customer account: Steven Bickling,
3514 Elliott, Baltimore, MD 21224 Phone: 4437397509, bick36@gmail.com.

       4.       The TARGET LOCATIONS is to be searched for evidence of violations of Title

18, United States Code, Sections 2251(a) (sexual exploitation of children); Title 18, Section

2422(b) (attempted online coercion and enticement of a minor); Title 18, United States Code,

Section 2252A(a)(2) (distribution and receipt of child pornography); and Title 18, United States

Code, Section 2252A(a)(5)(B) (possession of child pornography)                                    .

       5.       The statements in this affidavit are based in part on information and reports

provided by the Baltimore City Police Department and Special Agents of the FBI, on my

investigation of this matter, and on my experience and background as a Special Agent of the FBI.

Since this affidavit is being submitted for the limited purpose of securing a search warrant, I have

not included each and every fact known to me concerning this investigation. I have set forth only

the facts that I believe are necessary to establish probable cause to believe that evidence, fruits,

and instrumentalities of the TARGET OFFENSES are located in the TARGET LOCATIONS.

             SUMMARY CONCERNING CHILD PORNOGRAPHY, PERSONS WHO
             POSSESS AND COLLECT CHILD PORNOGRAPHY AND HOW USE OF
             COMPUTERS AND THE INTERNET RELATES TO THE POSSESSION,
                 RECEIPT AND DISTRIBUTION OF CHILD PORNOGRAPHY
       6.       Based on my investigative experience related to child pornography investigations,

and the training and experience of other law enforcement officers with whom I have had

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discussions, I have learned that individuals who utilize the internet to view and receive images of

child pornography are often individuals who have a sexual interest in children and in images of

children, and that there are certain characteristics common to such individuals, including the

following:

               a.      Individuals who have a sexual interest in children or images of children may
receive sexual gratification, stimulation, and satisfaction from contact with children, or from
fantasies they may have viewing children engaged in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media, or from literature describing such
activity.

                b.     Individuals who have a sexual interest in children or images of children may
collect sexually explicit or suggestive materials, in a variety of media, including photographs,
magazines, motion pictures, videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children oftentimes use these
materials for their own sexual arousal and gratification. Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce, to arouse the selected child partner,
or to demonstrate the desired sexual acts.

               c.      Individuals who have a sexual interest in children or images of children

video tapes, magazines, negatives, photographs, correspondence, mailing lists, books, tape
recordings, etc., in the privacy and security of their home or some other secure location.
Individuals who have a sexual interest in children or images of children typically retain pictures,
films, photographs, negatives, magazines, correspondence, books, tape recordings, mailing lists,
child erotica, and videotapes for many years.

               d.     Likewise, individuals who have a sexual interest in children or images of
children often maintain their collections that are in a digital or electronic format in a safe, secure
and private environment, such as a computer or cellphone, and surrounding area. These collections

or in online storage, email accounts or other online communication accounts, to enable the
individual to view the collection, which is valued highly.

               e.     Individuals who have a sexual interest in children or images of children also
may correspond with and/or meet others to share information and materials, rarely destroy
correspondence from other child pornography distributors/collectors, conceal such
correspondence as they do their sexually explicit material, and often maintain lists of names,
addresses, and telephone numbers of individuals with whom they have been in contact and who
share the same interests in child pornography. This data is typically in digital format, and often
maintained on computers, cell phones and in online storage, email accounts or other online
communication accounts.



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                f.     Individuals who would have knowledge on how to distribute and receive
digital images of child pornography through the use of Peer to Peer networks and other online
methods would have gained knowledge of its location through online communication with others
of similar interest. Other forums, such as bulletin boards, newsgroups, IRC chat or chat rooms
have forums dedicated to the trafficking of child pornography images. Individuals who utilize
these types of forums are considered more advanced users and therefore more experienced in
acquiring a collection of child pornography images.

                g.     Individuals who have a sexual interest in children or images of children
prefer not to be without their child pornography for any prolonged time period. This behavior has
been consistently documented by law enforcement officers involved in the investigation of child
pornography.
       7.       Based on my investigative experience related to computer and internet related

child pornography investigations, and the training and experience of other law enforcement

officers with whom I have had discussions, I have learned the following:

                a.      Computers and computer technology have revolutionized the way in which
child pornography is produced, distributed, and utilized. It has also revolutionized the way in
which child pornography collectors interact with each other. Child pornography formerly was
produced using cameras and film (either still photography or movies.) The photographs required
darkroom facilities and a significant amount of skill in order to develop and reproduce the images.
As a result, there were definable costs involved with the production of pornographic images. To
distribute these on any scale also required significant resources. The photographs themselves were
somewhat bulky and required secure storage to prevent their exposure to the public. The
distribution of these wares was accomplished through a combination of personal contact, mailings,
and telephone calls. Any reimbursement would follow these same paths.

              b.     The development of computers, smartphones and the internet have added to
the methods used by child pornography collectors to interact with and sexually exploit children.
Computers, smartphones and the internet serve four functions in connection with child
pornography. These are production, communication, distribution, and storage.

               c.       Mobile devices such as laptop computers, smartphones, iPods, iPads and
digital media storage devices are known to be used and stored in vehicles, on persons or other
areas outside of the residence.

               d.      Smartphones have the capability to access the Internet and store
information, such as videos and images. As a result, an individual using a smartphone can send,
receive, and store files, including child pornography, without accessing a personal computer or
laptop. An individual using a smartphone can also easily plug the device into a computer, via a
USB cable, and transfer data files from one digital device to another. Many people generally carry
their smartphone on their person.



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                e.      Child pornographers can now transfer photographs from a camera onto a
computer-readable format. With the advent of digital cameras, the images can now be transferred
directly onto a computer. A device known as a modem allows any computer to connect to another
computer through the use of telephone, cable, or wireless connection. Electronic contact can be
made to literally millions of computers around the world. The ability to produce child pornography
easily, reproduce it inexpensively, and market it anonymously (through electronic
communications) has drastically changed the method of distribution and receipt of child
pornography.

                f.    Child pornography can be transferred via electronic mail or through file
transfer protocols (FTP) to anyone with access to a computer and modem. Because of the
proliferation of commercial services that provide electronic mail service, chat services (i.e.,
                                                 , and online file sharing and storage, the computer
is a preferred method of distribution and receipt of child pornographic materials.

                g.      The Internet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing, and trading child pornography in a relatively
secure and anonymous fashion. Collectors and distributors of child pornography use online
resources to retrieve and store child pornography, including services offered by Internet Portals
such as AOL Inc., Yahoo, and Google, Inc., Facebook, Dropbox, Instagram, among others. The
online services allow a user to set up an account with a remote computing service that provides e-
mail services, file exchange services, messaging services, as well as electronic storage of computer
files in any variety of formats. A user can set up an online storage account from any computer
with access to the Internet. Email accounts, online storage accounts, and other online
communication accounts allow users to save significant amounts of data, including email, images,
videos, and other files. The data is maintained on the servers of the providers, and is occasionally
retained by the providers after the user deletes the data from their account.

                h.      In my recent investigative experience, as well as recent discussions with law
enforcement officers, I know that individuals who collect child pornography are using email
accounts, online storage accounts, and other online communications accounts to obtain, store,
maintain, and trade child pornography with growing frequency, in addition to, or as an alternative
to, the use of personal devices.

               i.      Based on traits shared by collectors, the use of email, online storage
accounts, and other online communication accounts, and the increased storage capacity of
computers and server space over time, there exists a fair probability that evidence regarding the
distribution, receipt and possession of child pornography will be found in the TARGET
LOCATIONS notwithstanding the passage of time.

               j.      In addition, computer files or remnants of such files can be recovered
months or even years after they have been downloaded onto a hard drive, deleted, or viewed via
the Internet. Electronic files downloaded to a hard drive can be stored for years at little to no cost.
Even when such files have been deleted, they may be recoverable months or years later using
readily available forensic tools.



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                 k.
the file does not actually disappear; rather, that data remains on the hard drive until it is overwritten
by new data. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space that is, in space on the hard drive that is not allocated to an active file or that is unused
after a file has been allocated to a set block of storage space for long periods of time before they
are overwritten.

                 l.

are automatically downloaded into a temporary Internet directory or cache. The browser typically
maintains a fixed amount of hard drive space devoted to these files, and the files are only
overwritten as they are replaced with more recently viewed Internet pages.

               m.      The storage capacity of personal computers has increased dramatically over
the last few years. Common and commercially available hard drives are now capable of storing
over 500 GB of data. With that amount of storage space, an individual could store thousands of
video files and/or hundreds of thousands of image files.

                 n.     Thus, the ability to retrieve residue of an electronic file from a hard drive

system, storage capacity, and computer habits. Since the storage capacity of hard drives has
increased dramatically over the last several years, it is more likely that the above-described
information will be recovered during forensic analysis.
                                    NCMEC CYBERTIPLINE

        8.       The National Center for Missing and Exploited Children (NCMEC) receives

complaints via their Cybertipline from Internet Service Providers (ISPs), Electronic Service

Providers (ESPs), and others. These Cybertipline reports are reviewed by a NCMEC analyst and

forwarded to law enforcement for further investigation on the information provided in the

Cybertipline report.

                                        PROBABLE CAUSE

        9.       On May 21, 2020, an online tip was submitted to the FBI National Threat

Operations Center (NTOC), via the website tips.fbi.gov, to report allegations involving an

individual viewing videos depicting minors getting sexually abused. Follow up investigation

determined that Steven Bickling                 , residing at 27 South Curley Street, Baltimore,

Maryland 21224, was the subject of the online tip.

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       10.     In 2014, Yahoo, Inc., conducted an internal investigation of Yahoo users selling

and buying suspected child abuse images, videos, and live-streams located in the Philippines.

During this investigation, Yahoo identified hundreds of potential sellers and buyers of the

suspected child pornography files. One buyer was identified by Yahoo as:

                      Yahoo ID:              apoc39
                      Name:                  Steve Bickling
                      Location:              Brooklyn, Maryland

       11.     Yahoo provided the following

Yahoo accoun                                  was a party to:

                  No further investigation was conducted into this specific user at the time

Yahoo provided this information.

       12.     On August 19, 2020, Baltimore City detectives and members of the FBI Violent

Crimes Against Children Task Force, including myself, executed a state search and seizure

warrant at the residence located at 27 South Curley Street, Baltimore, Maryland 21224. Bickling

was present and waived his Miranda rights and consented to an interview, in which I participated

in, and which was audio and video recorded. Bickling advised his phone number was 443-739-

3953 and his email address was sbick36@gmail.com. Bickling currently lives alone and has

lived at his current residence for approximately one year. Bickling advised his current cell phone

was an iPhone and that he has had the iPhone for three years. Bickling has owned his laptop for

approximately eight years and no one else uses his laptop. Bickling advised that he had child



laptop. Initially Bickling stated he did not know how he acquired the videos because he had

been drinking at the time and said it was over a year ago. Then Bickling advised that he visited

child modeling websites and clicked on links and eventually found child pornography videos.



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Bickling stated that he thought he saved twenty to thirty videos. Bickling initially stated he

saved the videos once or twice over a two-month period and that he watched the videos

approximately once a month, or less, and the last time he viewed the videos was possibly a

couple of weeks prior to the interview when he was drinking. Bickling stated he paid

approximately $30 for access to the website and that he probably used his Visa credit card to pay

for the access. Bickling denied watching child pornography with other people and denied

trading the videos with others. Bickling stated his cell phone will not have child pornography on

it. Bickling denied touching or taking sexual pictures of his daughter or any other child

inappropriately. Bickling initially denied having any other digital items. When advised that

several thumb drives were found he stated no child pornography would be found on them. After

being advised that at least one thumb drive contained naked pictures of children, Bickling stated

he had               the thumb drives in awhile so he did not recall what was located on them.

         13.   Later the same day, during an interview with another investigator, Bickling

admitted to communicating via Skype with people in the Philippines after first meeting them on

adult Asian chat room                      I would send them money if they brought their child to

get naked on Skype

child was eight or nine years old. Bickling stated he did not ask the children to touch themselves

or for anyone to touch them. Bickling requested the child to turn over, bend over on their hands

and knees. Bickling admitted to masturbating while the child was on Skype and that it would

last approximately five to ten minutes. Bickling paid $50 via PayPal. Bickling stated he has

done this eight to ten times over the past two years.

         14.   On August 19, 2020, at the end of the interview, Bickling wrote the following




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fillipinawebcams.com which had live chat rooms with Asian women. After some visits to some

rooms I heard children in the background and got the idea to ask the female performer to see if

she would join me on Skype with her female child and I would pay her directly for a nude show

with her daughter. I would join them on Skype video an usually pay $50USD for her daughter to

get naked and pose, mostly bent over from behind. I would masterbate until ejaculation in 5 to

10 minutes. In a two year span this occurred probably between 12-15 times is my best guess. I

have not done this act since most likely October or early November of 2019. These acts were



        15.       On January 22, 2021, Bickling was arrested pursuant to a criminal complaint and

arrest warrant issued by the Honorable Thomas M. Digirolamo in violation of U.S.C. Title 18

Section 2422(b) (Attempted Online Coercion and Enticement of a Minor). Bickling has been

detained since.

        16.       In October 2021, NCMEC advised that there were six Cybertipline Reports that

appeared to be related to Steven Bickling. Five of the reports were received by NCMEC on

November 20, 2013. They were submitted by ihrms@inhope.org 1. All five reports listed the

reported URL as containing berydoq.com as part of the URL address and stated

reported URL and found a linking page titled, 'DVD !!! UNBELIEVABLE OFFER !!! DVD'

which contains content that appears to be CHILD PORNOGRAPHY. I did not click on any links



        17.       The registrar information listed in all five Cybertipline reports was:

                          Registrar: GoDaddy.com, LLC
                          Registrant Name: Steven Bickling
                          Registrant Street: 3514 Elliott

1
 INHOPE stands for the International Association of Internet Hotlines and IHRMS stands for INHOPE Report
Management System                                                               is to support and enable
INHOPE hotlines in the rapid identification and removal of Child Sexual Abuse Material from the digital world

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                           Registrant City: Baltimore
                           Registrant State/Province: Maryland
                           Registrant Postal Code: 21224
                           Registrant Country: United States
                           Admin Phone: 4437397509
                           Admin Email: bick36@gmail.com

         18.      The sixth report, Cybertipline Report 2194409, was received by NCMEC on

November 21, 2013. The submitter was GoDaddy.com/Wild West Domains and the listed Incident

Type2 was                   Child Pornography.           The report for 2194409 provided the following

information regarding the GoDaddy Web Address (URL) being reported:

                           URL:                                http://avza.berydoq.com
                           Email Address:                      bick36@gmail.com3
                           IP Address:                         12.134.211.1394
                           Incident Time:                      11/19/2013 20:55:00 UTC
                           Incident Type:                      Child Pornography (possession, manufacture
                                                               and distribution)

         19.      The report for 2194409 stated that there were four uploaded PDFs associated with

the report. The                                          attached PDFs were only examples of many sites

that were contained on this one hosting account.                                                GoDaddy did not

state whether they viewed the entire contents of the uploaded file. The uploaded files were

provided with the Cybertipline report and have not been reviewed. The report also for 2194409

stated the following:

                  -   On 11/19/2013 at 3:26:48 AM (-7 GMT) from IP address 12.134.211.139, our
                      customer Steven Bickling purchased the domain name and hosting for
                      BERYDOQ.COM
                  -   Customer Account Billing Information: Steven Bickling, 3514 Elliott,
                      Baltimore, MD 21224, Phone: 4437397509, bick36@gmail.com, Paid: Credit
                      Card (VISA)

2
  NCMEC Incident Type is based on                                               a Hash Match of one or more
uploaded files.
3
  A subpoena was sent to Google for the email address bick36@gmail.com. The account was opened in November
2010 and was in the name Kevin Bick. No recent login IPs were provided by Google.
4
  The IP address resolved back to AT&T and geolocated to the Washington, D.C. area. In 2013, NCMEC forwarded
Cybertipline report 2194409 to the Virginia State Police. It is unknown at this time if any further investigation was
conducted. An attempt to contact Virginia State Police has been made with negative results.

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               -   The ip address listed was found to be uploading the child abuse content files
                   onto the hosting account.
               -   All of the content located within the directories and on the various sites were
                   all of the child exploitive nature.

       20.     On February 23, 2022, NCMEC provided FBI Baltimore the associated files of

Cybertipline report 2194409 via a .zip file. The associated files have not been viewed. The

files were saved on a SanDisk 64GB thumb drive (SN150625268B), which is secured and in the

custody of the Federal Bureau of Investigation, located at 801 International Drive, Linthicum,

Maryland.

       21.     In February 2022, an email was sent to GoDaddy.com asking if they would still

have the information associated with Cybertipline report 2194409

     We retain information regarding Cybertipline reports in perpetuity.

       22.     On February 16, 2022, a real property search through the Maryland Department of

Assessments and Taxation revealed that 3514 Elliott Street, Baltimore, MD 21224, the address

listed in the Cybertipline reports as the registrar/customer address, was transferred to Steven

Bickling in 2006, and that 3514 Elliott Street, Baltimore, MD 21224 was transferred to

              -wife in 2016.

                                            SUMMARY

       23.     Based on my training and experience and the fact set forth above, I believe that the

user of the TARGET LOCATIONS displays characteristics common to individuals who have a

sexual interest in children, and who access with the intent to view and/or, possess, collect, receive,

produce, and distribute child pornography as discussed in paragraphs 6 and 7 above.

       24.     Based on my training, knowledge and experience, individuals who have a sexual

interest in children and who produce, distribute, receive and possess child pornography often

maintain their collections that are in a digital or electronic format in a safe, secure and private


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environment. These collections are often maintained for many years               even decades. These

individuals go to great lengths to conceal and protect their collection from discovery, theft, and

damage.         Individuals who collect child pornography prefer not to be without their child

pornography for any prolonged time period and therefore they tend to keep their collection where

they can easily access it such as in their residence, vehicles and place of employment, as well as

on their person. Individuals who collect child pornography also tend to keep their collection on

multiple devices, many of which are portable such as a smartphone, laptop computer, and external

storage devices, such as flash drives, external hard drives, and other storage media. In my

investigative experience, as well as the documented experience of other investigators, these

devices are often kept in

person.

          25.      Based on these characteristics, I respectfully submit there is probable cause that the

TARGET LOCATIONS contains evidence (1) of production, online coercion and enticement of a

minor, distribution, receipt, and/or possession of child pornography, and (2) are relevant to

determine the ownership and control of the TARGET LOCATIONS. Based on my training and

experience, such information may constitute evidence of the TARGET OFFENSES because the



                                             CONCLUSION

          26.      Based on the foregoing information, I have probable cause to believe that

contraband, evidence, fruits, and instrumentalities of the TARGET OFFENSES as set forth herein

and in Attachments B1 and B2 is currently contained in the TARGET LOCATIONS, more fully

described in Attachments A1 and A2. I therefore respectfully request that a search warrant be

issued authorizing the search of the account described in Attachments A1 and A2, for the items



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described in Attachments B1 and B2, and authorizing the seizure and examination of any such

items found therein.



                                                    __________________________
                                                    Special Agent Rachel S. Corn
                                                    Federal Bureau of Investigation


        Affidavit submitted by email and attested to me as true and accurate by telephone

consistent with Fed. R. Crim. P. 4.1 and Fed. R. Crim. P. 41(d)(3) this ____
                                                                         24thday of February,

2022.


_______________________________________
HONORABLE A. DAVID COPPERTHITE
UNITED STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A1

                                 ITEMS TO BE SEARCHED

       Associated files of Cybertipline Report 2194409 that were forwarded to the National

Center for Missing and Exploited Children (NCMEC) by GoDaddy.com/Wild West Domains,

which are stored on a SanDisk 64GB thumb drive (SN150625268B) currently in the custody of

the Federal Bureau of Investigation, located at 801 International Drive, Linthicum, Maryland.




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                         ATTACHMENT A2             GoDaddy.com, LLC

       This warrant applies to information associated with the following:

              -   Web Site/URL: http://avza.berydoq.com to include the Sub-Domain Names
                  set up on BERYDOQ.COM: avza.berydoq.com, blzy.berydoq.com,
                  cuyo.berydoq.com, dalj.berydoq.com;

              -   Customer Account: Steven Bickling, 3514 Elliott, Baltimore, MD 21224
                  Phone: 4437397509, bick36@gmail.com;

that are stored at premises owned, maintained, controlled, or operated by GoDaddy.com, LLC, a

business with offices located at 2155 E. GoDaddy Way, Tempe, Arizona 85284.




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                                        ATTACHMENT B1

                                    LIST OF ITEMS TO BE SEIZED

       Any and all files containing a visual depiction of a minor, to include images and videos of

children engaged in sexually explicit conduct as described in 18 U.S.C. § 2256, nude pictures, and

modeling. Additionally, any communication, information, pictures, videos or documentation that

identifies the user of the account or that indicates a sexual interest in children.




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                           ATTACHMENT B2              GoDaddy.com LLC

I.     Files and Accounts to be produced by GoDadday.com LLC between November 19,
2013, to the present.

       To the extent that the information described in Attachment A2 is within the possession,
custody, or control of GoDaddy.com LLC including any messages, emails, records, files, logs,
images, videos, or information that have been deleted but are still available to GoDaddy.com,
GoDaddy.com is required to disclose the following information to the government for each
account or identifier listed in Attachment A2:

               a.        Any and all content associated with GoDaddy.com Cybertipline report
2194409;

                b.        All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, email addresses, records of
session times and durations, the date on which the account was created, the length of service, the IP
address used to register the account, log-in IP addresses associated with session times and dates, account
status, e-mail addresses provided during registration, methods of connecting, log files, and means and
source of payment (including any credit or bank account number);

                c.       All information automatically recorded by GoDaddy
including its software and all activity using the Services, to include, but not limited to: a utilizing

information searched for on the website, locale preferences, identification numbers associated with


               d.        The types of services utilized by the user;

               e.        All files and records or other information stored by an individual using the
account, including all images, videos, documents and other files uploaded, downloaded or accessed
using             service, including all available metadata concerning these files;

               f.        All records pertaining to communications between GoDaddy and any person
regarding the account, including contacts with support services, any complaints, and records of actions
taken;

               g.        The contents of all private messages and attachments stored in the accounts
described in Attachment A2, including copies of messages sent to and from the account, draft messages,
the source and destination accounts associated with each message, the date and time at which each
message was sent, and the size and length of each message;

                h.                                                                    , posts, images, video,
quotes, or links to their account;




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                i.       Records of session times and durations and IP addresses associated with each of
these sessions for every user in each folder in this account;

               j.       The contents of any private or public blogs;

II.    Information to be Seized by Law Enforcement Personnel

       a.     Any and all records that relate in any way to the accounts described in Attachment A2
which is evidence, fruits, and instrumentalities of violations of Title 18 U.S.C.§ § 2251(a), 2422(b),
2252A(a)(2), and 2252A(a)(5)(B), specifically that relate to the following:

               1.     Images, videos and other files depicting the production, distribution, receipt,
possession of or access with intent to view child erotica, child pornography, the sexual exploitation of
minors, sexually explicit conduct, and illicit sexual conduct;

               2.     Communications or documentations regarding the production, distribution, receipt,
possession of or access with intent to view child erotica, child pornography, the sexual exploitation of
minors, sexually explicit conduct, and illicit sexual conduct;

               3.      Communication or documentation regarding access to and/or interaction with
minors, to include the enticement of a minor;

               4.     Images depicting the interior or exterior of residences, public establishments, and
vehicles;

               5.      All images, messages, communications, calendar entries, and contacts, including
any and all preparatory steps taken in furtherance of these crimes;

             6.    Communication, information, documentation and records relating to who created,
used, or communicated with the account or identifier, including records about their identities and
whereabouts;

               7.     Evidence of the times the account or identifier listed on Attachment A2 was used;

              8.      All images, messages and communications regarding wiping software, encryption
or other methods to avoid detection by law enforcement;

                9.     Passwords and encryption keys, and other access information that may be necessary
to access the account or identifier listed on Attachment A2 and other associated accounts;

              10.    Credit card and other financial information, including but not limited to, bills and
payment records evidencing ownership of the subject account;

       b.      All existing printouts from original storage which concern the categories identified in
subsection II.A; and



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       c.      All address books or other lists of contacts.

        With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, documents, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable.
        If the government identifies any seized communications that may implicate the attorney-
client privilege, law enforcement personnel will discontinue its review and take appropriate steps
to segregate all potentially privileged information so as to protect it from substantive review. The
investigative team will take no further steps regarding any review of information so segregated
absent further order of the court. The investigative team may continue to review any information
not segregated as potentially privileged.




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